      Case 1-16-43681-ess             Doc 282       Filed 07/17/18   Entered 07/17/18 11:25:05




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re                                                       Chapter 11

        Yeshivah Ohel Moshe,                                Case No. 16-43681
        aka Yeshiva Ohel Moshe

                                    Debtor.
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                                              FINAL DECREE

                 Upon the application of Yeshivah Ohel Moshe, (the "Debtor") requesting that a

final decree be entered and that the Chapter 11 case be closed, and the Debtor having

substantially consummated the provisions of the Plan of Reorganization confirmed by order of

this Court dated August 21, 2017; it is

                 ORDERED, that pursuant to Bankruptcy Rule 3022, the above-captioned Chapter

11 case be, and the same hereby closed, and a final decree is hereby issued; and it is further

                 ORDERED, that the Debtor provide a declaration detailing all disbursements it

has made on the Debtor’s behalf through the date of this Order and pay all United States Trustee

fees and any applicable interest thereon within ten (10) days of the date of this Order.

NO OBJECTION:
UNITED STATES TRUSTEE

By: /s/William E. Curtin, Esq.
Dated: June 29, 2018
New York, New York




                                                                         ____________________________
 Dated: Brooklyn, New York                                                      Elizabeth S. Stong
        July 17, 2018                                                    United States Bankruptcy Judge
